                                                                                                 Case 2:21-cv-00377-APG-EJY Document 26 Filed 12/02/21 Page 1 of 2




                                                                                           1   SUZANNE L. MARTIN
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                                                                                           7
                                                                                               Attorneys for Defendants Vocatus, LLC and
                                                                                           8   Shamoun’s, LLC

                                                                                           9                                UNITED STATES DISTRICT COURT
                                                                                          10                                        DISTRICT OF NEVADA
Ogletree, Deakins, Nash, Smoak & Stewart, P.C.




                                                                                          11
                                                                                               ERIN ALLEN,                                       Case No. 2:21-cv-00377-APG-EJY
                                                                                          12
                                                 Suite 1500, 3800 Howard Hughes Parkway




                                                                                          13                          Plaintiff,
                                                                                                                                                  DEFENDANTS’ MOTION FOR REMOVAL
                                                         Telephone: 702.369.6800




                                                                                                                                                  OF COUNSEL FROM CASE AND CM/ECF
                                                           Las Vegas, NV 89169




                                                                                          14          vs.
                                                            Wells Fargo Tower




                                                                                                                                                            SERVICE LIST
                                                                                          15   VOCATUS, LLC, a Nevada Limited Liability
                                                                                               Company; SHAMOUN’S, LLC, a Nevada
                                                                                          16
                                                                                               Limited Liability Company; and DOES and
                                                                                          17   ROE entities I – X, inclusive,

                                                                                          18                          Defendants.
                                                                                          19          Pursuant to LR IA 11-6, Suzanne L. Martin, counsel for Defendants Vocatus, LLC and

                                                                                          20   Shamoun’s, LLC (collectively, “Defendants”), hereby files this Motion for Removal of Counsel

                                                                                          21   from Case and CM/ECF Service List in the instant matter. This Motion seeks to remove attorney

                                                                                          22   Amy L. Howard as counsel of record for Defendants and from the CM/ECF service list as Ms.

                                                                                          23   Howard has left Ogletree, Deakins, Nash, Smoak & Stewart, P.C. Pursuant to LR IA 11-6(e),
                                                                                          24   removal of Ms. Howard from this matter will not result in any delay of discovery, the trial, or any
                                                                                          25   hearing in the case.
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                                                                                           1          Defendants also respectfully requests that this Court remove her from the CM/ECF docket

                                                                                           2   and CM/ECF service list for this matter.

                                                                                           3          DATED this 1st day of December, 2021.

                                                                                           4                                        OGLETREE, DEAKINS, NASH, SMOAK & STEWART, P.C.
                                                                                           5
                                                                                                                                    /s/ Suzanne L. Martin
                                                                                           6                                        Suzanne L. Martin
                                                                                                                                    Nevada Bar No. 8833
                                                                                           7
                                                                                                                                    Wells Fargo Tower
                                                                                           8                                        Suite 1500
                                                                                                                                    3800 Howard Hughes Parkway
                                                                                           9                                        Las Vegas, NV 89169
                                                                                                                                    Attorneys for Defendants Vocatus, LLC and
                                                                                          10                                        Shamoun’s, LLC
Ogletree, Deakins, Nash, Smoak & Stewart, P.C.




                                                                                          11
                                                                                          12
                                                                                                                                           ORDER
                                                 Suite 1500, 3800 Howard Hughes Parkway




                                                                                          13          IT IS SO ORDERED.
                                                         Telephone: 702.369.6800
                                                           Las Vegas, NV 89169




                                                                                          14
                                                            Wells Fargo Tower




                                                                                                                                           ____________________________________
                                                                                          15                                               UNITED STATES MAGISTRATE JUDGE

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                                                                                                                                           DATED: December 2, 2021
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